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 1                              UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3 NAPOLEON OLIVERA,                                  Case No.: 2:18-cv-00896-APG-VCF

 4                      Plaintiff,                    ORDER DISMISSING CASE

 5 v.                                                 (ECF Nos. 14, 16)

 6 CLARK COUNTY NV/CCDC et al.,

 7                      Defendants.

 8

 9         On March 29, 2020, the plaintiff was advised that this action would be dismissed without

10 prejudice as to defendant Church unless by April 28, 2020 he filed proper proof of service on

11 Church or showed good cause why service was not made. ECF No. 14.

12         On April 28, 2020, the court entered an order (ECF No. 16) extending the time to serve

13 the summons and copy of the complaint until July 27, 2020. The plaintiff has failed to file proof

14 of service on Church or shown good cause. Nor has the plaintiff shown why this action should

15 not be dismissed for failure to effect timely service as required by Federal Rule of Civil

16 Procedure 4(m).

17         I HEREBY dismiss this action without prejudice as to defendant Church. Because there

18 are no remaining defendants, the Clerk of Court is instructed to close this case.

19         Dated: July 31, 2020.

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21                                                       ________________________________
                                                         ANDREW P. GORDON
                                                         UNITED STATES DISTRICT JUDGE
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